
PER CURIAM.
No recording of the trial in this juvenile ease is available because of an apparent malfunction in the recording equipment. On appellant’s motion, jurisdiction was relinquished to the trial court for the purpose of reconstructing the record on appeal, but the trial court has entered an order indicating that the record cannot be reconstructed. Appellant moves to vacate his conviction, and the state concedes that remand for a new trial is the appropriate remedy under these circumstances. See, e.g., J.W. v. State, 667 So.2d 207 (Fla. 1st DCA 1995). Accordingly, we REVERSE and REMAND for a new trial.
MINER, WEBSTER and LAWRENCE, JJ., concur.
